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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Phillip Anthony WYATT

Docket Number:                       1:06CR00101-003 AWI

Offender Address:                    Bakersfield, California

Judicial Officer:                    Honorable Anthony W. Ishii
                                     United States District Judge
                                     Fresno, California

Original Sentence Date:              08-21-06

Original Offense:                    18 USC 1343 - Wire Fraud
                                     (CLASS C FELONY)

Original Sentence:                   118 days BOP (time served); 36 mos. TSR; $100
                                     special assessment; $1,565 restitution; mandatory
                                     testing

Special Conditions:                  Warrantless search and seizure; Not dissipate assets
                                     until financial obligation is paid in full; Financial
                                     disclosure; Credit restrictions; Drug counseling; Drug
                                     testing; Abstain from alcoholic beverages and places
                                     where they are the chief item of sale; $25 monthly co-
                                     payment; DNA collection

Type of Supervision:                 Supervised Release

Supervision Commenced:               08-21-06

Assistant U.S. Attorney:             Stanley A. Boone                Telephone: (559) 497-4000

Defense Attorney:                    Karen L. Lynch                  Telephone: (559) 448-0400




                                                                                                           R ev. 02/2007
                                                                              V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                                                              (M O D IFIC A T IO N ).M R G
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RE:   Phillip Anthony WYATT
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Other Court Action:

12-27-06:                    Non-compliance Report submitted notifying the Court of
                             the defendant’s methamphetamine abuse.           The
                             probation officer recommended the Court take no
                             negative action in order to allow the defendant to
                             benefit from intensified drug treatment. The Court
                             approved on January 3, 2007.

02-16-07:                    Non-compliance Report submitted notifying the Court of
                             the defendant's positive drug test result for the
                             presence of morphine. Considering the defendant was
                             admonished and warned to take only prescription
                             medication in his name, the probation officer
                             recommended the Court take no negative action. The
                             Court approved on February 20, 2007.

05-31-07:                    Non-compliance Report submitted requesting the Court
                             modify the defendant’s terms and conditions of
                             supervision to include his participation in a residential
                             community correctional center for a period of 90 days.
                             This request was submitted in response to the
                             defendant’s methamphetamine use.             The Court
                             approved on June 2, 2007.

02/26/07:                    Non-compliance Report submitted notifying the Court of
                             the defendant’s missed testing appointment.
                             Considering the probation officer extended the
                             defendant’s drug testing requirements, no additional
                             action was recommended. The Court approved on
                             February 28, 2008.




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                                PETITIONING THE COURT


To modify the conditions of supervision as follows:

       The defendant shall reside and participate in a residential re-entry center, for
       a period of 120 days; said placement shall commence as directed by the
       probation officer pursuant to 18 USC 3563(b)(11). The defendant shall pay
       cost of confinement as determined by the Bureau of Prisons.


Justification: On March 11, 2008, the defendant submitted a drug test to his treatment
program which returned a positive result for the presence of methamphetamine.

On March 17, 2008, the defendant reported to the probation office and admitted he used
methamphetamine prior to the above indicated drug test. The defendant signed a
Probation Form 49 - Waiver of Hearing to Modify Conditions of Probation/Supervised
Release or Extend Term of Supervision in order to participate in a residential re-entry
center for a period of 120 days.

The probation officer considered returning the defendant to Court for violation proceedings
due to the fact he has already had the benefit of a residential re-entry center placement.
However, the defendant is employed full time and would likely be terminated from
employment for any extended absences.

Considering the defendant has been advised that further variance from his terms and
conditions of supervision will result in a return to Court for formal violation proceedings, the
probation officer supports and recommends the above indicated modification at the present
time.




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                                  Respectfully submitted,

                                         /s/ R. Walters

                                      R. WALTERS
                             United States Probation Officer
                               Telephone: (661) 861-4305

DATED:         March 18, 2008
               Bakersfield, California
               RCW:dk

                             /s/ Rick C. Louviere
REVIEWED BY:
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer




THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:


IT IS SO ORDERED.

Dated:   March 19, 2008                          /s/ Anthony W. Ishii
0m8i78                                     UNITED STATES DISTRICT JUDGE




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                                                                  V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                               4                                  (M O D IFIC A T IO N ).M R G
